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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

MARIA GALLAGHER, Individually,

               Plaintiff,

vs.                                                    CASE NO. 3:20-cv-630-RGJ

PRINCE HOSPITALITY, INC., a Kentucky
Corporation,

            Defendant.
______________________________________/

                       PLAINTIFF=S FIRST AMENDED COMPLAINT
                               (Injunctive Relief Demanded)

       COMES NOW Plaintiff, MARIA GALLAGHER, on her behalf and on behalf of all other

mobility-impaired individuals similarly-situated (APlaintiff@), and hereby sues the Defendant,

PRINCE HOSPITALITY, INC., a Kentucky Corporation, (ADefendant@), for Injunctive Relief,

and attorney=s fees, litigation expenses, and costs pursuant to the Americans with Disabilities

Act, 42 U.S.C. ' 12181 et seq. (AADA@),

                                    COUNT I
                    VIOLATION OF TITLE III OF THE AMERICANS
                    WITH DISABILITIES ACT 42 U.S.C. § 12181, et seq.

                                          I. PARTIES

      1.       Plaintiff, MARIA GALLAGHER, is an individual residing in West Palm Beach,

FL, in the County of Palm Beach.

      2.       Defendant’s property, La Quinta by Wyndham Louisville is located at 1501

Alliant Ave., Louisville, KY, in the County of Jefferson.

                             II.   JURISDICTION AND VENUE

      3.       This Court has original jurisdiction in this action. This Court has been given
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original jurisdiction over actions arising from the Defendant’s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. ' 12181, et seq. See, also, 28 U.S.C. ' 2201 and

' 2202.

       4.       Venue is properly in the United States District Court for the Western District of

Kentucky because venue lies in the judicial district of the property situs. The Defendant=s

property is located in the Western District of Kentucky and the Defendant conducts business

within this judicial district.

                                 III. STATUTORY BACKGROUND

       5.       On July 26, 1990, Congress enacted the Americans with Disabilities Act of 1990,

establishing important civil rights for individuals with disabilities, including the right to full and

equal enjoyment of goods, services, facilities, privileges, and access to places of public

accommodation.

       6.       Among other things, Congress made findings in 42 U.S.C. ' 12101(a)(1)-(3), (5)

and (9) that included:

                a.       Some 43,000,000 Americans have one or more physical or mental

        disabilities, and this number is increasing as the population as a whole is growing older;

                b.       Historically, society has tended to isolate and segregate individuals with

        disabilities, and, despite some improvements, such forms of discrimination against

        individuals with disabilities continue to be a serious and pervasive social problem;

                c.       Discrimination against individuals with disabilities persists in such critical

        areas as employment, housing, public accommodations, education, transportation,

        communication, recreation, institutionalization, health services, voting and access to

        public services;


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              d.      Individuals with disabilities continually encounter various forms of

       discrimination, including outright intentional exclusion, the discriminatory effects of

       architectural, transportation, and communication barriers, overprotective rules and

       policies, failure to make modifications to existing facilities and practices, exclusionary

       qualification standards and criteria, segregation, and regulation to lesser services,

       programs, activities, benefits, jobs or other opportunities; and

              e.      The continuing existence of unfair and unnecessary discrimination and

       prejudice denies people with disabilities the opportunity to compete on an equal basis and

       to pursue those opportunities for which our free society is justifiably famous, and costs

       the United States billions of dollars in unnecessary expenses resulting from dependency

       and non-productivity.

      7.      Congress also explicitly stated in 42 U.S.C. ' 12101(b)(1)(2) and (4) that the

purpose of the Americans with Disabilities Act was to:

              a.      Provide a clear and comprehensive national mandate for the elimination of

       discrimination against individuals with disabilities;

              b.      Provide clear, strong, consistent, enforceable standards addressing

       discrimination against individuals with disabilities; and,

              c.      Invoke the sweep of congressional authority, including the power to

       enforce the fourteenth amendment and to regulate commerce, in order to address the

       major areas of discrimination faced day-to-day by people with disabilities.

      8.      Furthermore, pursuant to 42 U.S.C. ' 12182 and 28 C.F.R. 36.201(a),

Congressional intent was for no place of public accommodation to discriminate against an

individual, on the basis of such individual=s disability, with regard to the full and equal


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enjoyment of the goods, services, facilities, privileges, advantages, or accommodations at that

place of public accommodation.

      9.       Congress provided commercial businesses at least 18 months from enactment

make their facilities compliant to the regulations in the Americans with Disabilities Act. The

effective date of Title III of the ADA was January 26, 1992, or January 26, 1993, if the

Defendant has ten (10) or fewer employees and gross receipts of $500,000 or less. 42 U.S.C.

' 12181 and 28 C.F.R. 36.508(a).

                            IV. THE PARTIES AND STANDING

      10.      Plaintiff, MARIA GALLAGHER is a Florida resident, is sui juris, and qualifies as

an individual with disabilities as defined by the ADA. Because of the condition of her hip,

chronic right trochanteric bursitis, she gets around when going short distances, by the use of a

walker or a cane; while going longer distances, she gets around through the use of a wheelchair.

      11.      Maria Gallagher travels to Louisville, KY approximately twice a year to visit her

daughter and two granddaughters and her grandson, who reside there.

      12.      Mrs. Gallagher stayed at the La Quinta by Wyndham Louisville on July 14 - 15,

2020 and on October 13-14, 2020, and plans to return to the subject property in the near future,

to avail herself of the goods and services offered to the public at the property, when the hotel is

made accessible for her use.

       On Mrs. Gallagher’s first visit on July 14-15, 2020, she and her husband had made a

reservation for a disabled room. As it turned out the room (guest room 103), was not a disabled

room. She returned to the hotel on October 13-14, 2020, and was provided an accessible non-

compliant room (guest room 108).

      13.      The Defendant has discriminated against the individual Plaintiff by denying her


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access to, and full and equal enjoyment of the goods, services, facilities, privileges, advantages

and/or accommodations of the buildings, as prohibited by 42 U.S.C. ' 12182 et seq.

      14.      Defendant owns, or leases, (or leases to), or operates a place of public

accommodation as defined by the ADA and the regulations implementing the ADA, 28

C.F.R. 36.201(a) and 36.104. Defendant is responsible for complying with the obligations of the

ADA. The place of public accommodation that the Defendant owns, operates, leases or leases to

is known as La Quinta by Wyndham Louisville, and is located at 1501 Alliant Ave., Louisville,

KY.

      15.      Maria Gallagher has a realistic, credible, existing and continuing threat of

discrimination from the Defendant non-compliance with the ADA with respect to this property

as described but not necessarily limited to the allegations in paragraph 17 of this First Amended

Complaint. Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violation of the ADA by the Defendant. MARIA GALLAGHER desires to

visit La Quinta by Wyndham Louisville, not only to avail herself of the goods and services

available at the property but to assure herself that the property are in compliance with the ADA

so that she and others similarly situated will have full and equal enjoyment of the property

without fear of discrimination.

      16.      The Defendant has discriminated against the individual Plaintiff by denying her

access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq., as outlined

in paragraph 17 herein.

                                    THE INSTANT CLAIM

      17.      The Defendant has discriminated, and is continuing to discriminate, against the


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Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992 (or January 26, 1993 if Defendant has 10 or fewer employees and gross receipts of

$500,000 or less). A preliminary inspection of La Quinta by Wyndham Louisville has shown

that violations exist. These violations personally encountered or observed by Mrs. Gallagher

include, but are not limited to:

               A.      Accessible Route


                       1)      There is no marked access aisle adjacent to the vehicle pull-up
                               space of the passenger loading zone making it difficult for the
                               Plaintiff to safely traverse to the lobby entrance, in violation of
                               Sections 503.3 and 503.3.3 of the 2010 ADA Standards, whose
                               resolution is readily achievable.

                       2)      There is not a compliant path of travel connecting the accessible
                               parking spaces to the accessible entrances making it difficult for
                               the Plaintiff to traverse on the accessible route within the site, in
                               violation of Section 206.2.2 of the 2010 ADA Standards, whose
                               resolution is readily achievable.

                       3)      The car obstructed the walkway’s 36 inches of clear width on the
                               making it difficult for the Plaintiff to traverse the accessible route,
                               in violation of Sections 403.5.1 and 502.7 in the 2010 ADA
                               Standards, whose resolution is readily achievable.

               B.      Parking

                       1)      The accessible parking space identification sign does not meet the
                               minimum requirement of being at least 60 inches above the ground
                               as required, in violation of Section 502.6 in the 2010 ADA
                               Standards, whose resolution is readily achievable, which makes it
                               more difficult to identify the disabled parking space.

               C.      Public Restroom

                       1)      The rear wall grab bar is not centered on the water closet as
                               required making it difficult for the Plaintiff to use, in violation of

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                      Section 604.5.2 in the 2010 ADA Standards, whose resolution is
                      readily achievable.

                2)    The flush control is not located on the open side of the water closet
                      making it difficult for the Plaintiff to utilize, in violation of Section
                      604.6 in the 2010 ADA Standards, whose resolution is readily
                      achievable.

                3)    The toilet paper dispensar is not in the compliant location as
                      required, making it difficult for the Plaintiff to use, in violation of
                      Section 604.7 in the 2010 ADA Standards, whose resolution is
                      readily achievable.

                4)    The Plaintiff had to use caution when utilizing the public restroom
                      lavatory due to the drain pipe and water lines being exposed, in
                      violation of Section 606.5 in the 2010 ADA Standards, whose
                      resolution is readily achievable.

                5)    The public restroom door hardware requires tight pinching and
                      twisting of the wrist to unlock making it difficult for the Plaintiff to
                      use, in violation of Section 404.2.7 and 309.4 in the 2010 ADA
                      Standards, whose resolution is readily achievable.

                6)    The public restroom does not provide the required maneuvering
                      clearance, making it difficult for the Plaintiff to exit the room, in
                      violation of Section 404.2.4 in the 2010 ADA Standards, whose
                      resolution is readily achievable.

                7)    The paper towel dispenser is mounted too high for the Plaintiff to
                      utilize, in violation of Section 308.3 in the 2010 ADA Standards,
                      whose resolution is readily achievable.

          D.    Guest Room 108

                1)    The latch side of the pull door from the inside of the guest room
                      does not provide 18 inches of maneuvering clearance as required
                      making it difficult for the Plaintiff to operate the door, in violation
                      of Section 404.2.4.1 in the 2010 ADA Standards, whose resolution
                      is readily achievable.


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                2)    The latch lock for the guest room door exceeds the maximum
                      height allowance of 48 inches, making it difficult for Plaintiff to
                      reach and utilize, in violation of Sections 308.2.1 and 309.3 in the
                      2010 ADA Standards, whose resolution is readily achievable.

                3)    The flush control is not located on the wide side of the water closet
                      as required, making it difficult for the Plaintiff to flush, in violation
                      of Section 604.6 in the 2010 ADA Standards, whose resolution is
                      readily achievable.

                4)    The toilet paper dispenser is not in the compliant location of a
                      minimum of 7 inches and a maximum of 9 inches from the front of
                      the toilet to the center line of the toilet paper as required, making it
                      difficult for the Plaintiff to utilize, in violation of Section 604.7 in
                      the 2010 ADA Standards, whose resolution is readily achievable.

                5)    The roll-in shower controls are not in the compliant location and
                      are mounted too high, making it difficult for the Plaintiff to
                      operate, in violation of Section 608.5.2 in the 2010 ADA
                      Standards, whose resolution is readily achievable.

                6)    The roll-in shower threshold is 2 inches high, which made it
                      difficult for the Plaintiff to enter, in violation of Section 608.7 in
                      the 2010 ADA Standards, whose resolution is readily achievable.

                7)    The Plaintiff had to use caution when utilizing the lavatory due to
                      the drain pipe and water lines being exposed, in violation of
                      Section 606.5 in the 2010 ADA Standards, whose resolution is
                      readily achievable.

                8)    The door hardware to the storage closet and the adjoining room
                      require tight grasping and twisting at the wrist to operate, making it
                      difficult for the Plaintiff to operate, in violation of Section 404.2.7
                      in the 2010 ADA Standards, whose resolution is readily
                      achievable.

                9)    The lamp does not provide a 30 inch by 48 inch clear floor space
                      due to the location of the chair making it difficult for the Plaintiff
                      to use, in violation of Sections 305.3, 305.5 and 305.6 in the 2010
                      ADA Standards, whose resolution is readily achievable.

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               E.      Lack of Compliant Disabled Rooms Properly Disbursed

                       1)     The subject hotel lacks the required number of compliant disabled
                              rooms, and the disabled rooms are not dispersed amongst the
                              various classes of guest rooms in violation of Section 224.5 of the
                              2010 ADAAG.

               F.      Maintenance

                       10)    The accessible features of the facility are not maintained, creating
                              barriers to access for the Plaintiff, as set forth herein, in violation
                              of 28 C.F.R. 36.211.

      2.       All of the foregoing violations are violations of the 1991 Americans with

Disabilities Act Guidelines (ADAAG), and the 2010 ADA Standards for Accessible Design, as

promulgated by the U.S. Department of Justice.

      3.       The discriminatory violations described in paragraph 17 are not an exclusive list

of the Defendant’s ADA violations. Plaintiff requires further inspection of the Defendant=s place

of public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access.

      4.       The individual Plaintiff, and all other individuals similarly-situated have been

denied access to, and have been denied the benefits of services, programs and activities of the

Defendant buildings and its facilities, and have otherwise been discriminated against and

damaged by the Defendant because of the Defendant’s ADA violations, as set forth above. The

individual Plaintiff, and all others similarly situated will continue to suffer such discrimination,

injury and damage without the immediate relief provided by the ADA as requested herein. In

order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

Defendant’s place of public accommodation in order to determine all of the areas of non-

compliance with the Americans with Disabilities Act.

      5.       Defendant has discriminated against the individual Plaintiff by denying her access

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to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of its place of public accommodation or commercial facility in violation of 42

U.S.C. ' 12181 et seq., and 28 C.F.R. 36.302 et seq. Furthermore, the Defendant continues to

discriminate against the Plaintiff, and all those similarly-situated by failing to make reasonable

modifications in policies, practices or procedures, when such modifications are necessary to

afford all offered goods, services, facilities, privileges, advantages or accommodations to

individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services.

      6.       Defendant is required to remove the existing architectural barriers to the

physically disabled when such removal is readily achievable for its place of public

accommodation that has existed prior to January 26, 1993, 28 C.F.R. 36.304(a); in the

alternative, if there has been an alteration to Defendant’s place of public accommodation since

January 26, 1992, then the Defendant is required to ensure to the maximum extent feasible, that

the altered portions of the facility are readily accessible to and useable by individuals with

disabilities, including individuals who use wheelchairs, 28 C.F.R. 36.402; and finally if the

Defendant’s facility is one which was designed and constructed for first occupancy subsequent to

January 26, 1993, as defined in 28 C.F.R. 36.401, then the Defendant’s facility must be readily

accessible to and useable by individuals with disabilities as defined by the ADA.

      7.       Appendix A to Part 36 - Standards for Accessible Design (28 C.F.R. Part 36,

App. A), sets out guidelines for accessibility for buildings and facilities. These guidelines are to

be applied during design, construction and alteration of such buildings and facilities to the extent

required by regulations issued by Federal Agencies, including the Department of Justice, under


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the ADA.

      8.       Plaintiff has retained the undersigned counsel and is entitled to recover attorney=s

fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. ' 12205 and

28 C.F.R. 36.505.

      9.       Notice to Defendant is not required as a result of the Defendant=s failure to cure

the violations by January 26, 1992 (or January 26, 1993 if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiff or waived by the Defendant.

      10.      Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

      11.      Pursuant to 42 U.S.C. ' 12188, this Court is provided authority to grant Plaintiff

Injunctive Relief including an order to alter La Quinta by Wyndham Louisville to make those

facilities readily accessible and useable to the Plaintiff and all other persons with disabilities as

defined by the ADA; or by closing the facility until such time as the Defendant cures its

violations of the ADA.

       WHEREFORE, Plaintiff respectfully requests:

               A.      The Court issue a Declaratory Judgment that determines that the

                       Defendant at the commencement of the subject lawsuit is in violation of

                       Title III of the Americans with Disabilities Act, 42 U.S.C. ' 12181, et seq.

               B.      Injunctive relief against the Defendant including an order to make all

                       readily achievable alterations to the facility; or to make such facility

                       readily accessible to and usable by individuals with disabilities to the


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                     extent required by the ADA; and to require the Defendant to make

                     reasonable modifications in policies, practices or procedures, when such

                     modifications are necessary to afford all offered goods, services, facilities,

                     privileges, advantages or accommodations to individuals with disabilities;

                     and by failing to take such stops that may be necessary to ensure that no

                     individual with a disability is excluded, denied services, segregated or

                     otherwise treated differently than other individuals because of the absence

                     of auxiliary aids and services.

              C.     An award of attorney=s fees, costs and litigation expenses pursuant to

                     42 U.S.C. ' 12205.

              D.     Such other relief as the Court deems just and proper, and/or is allowable

                     under Title III of the Americans with Disabilities Act.

              E.     The Order shall further require the Defendant to maintain the required

                     accessible features on an ongoing basis.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of November, 2020, a true and correct copy of

the foregoing has been electronically filed via the Court’s CM/ECF System, which will

automatically send a Notice of Electronic Filing to Attorneys for the Defendant, Kimberly J.

O’Donnell, Esq., kim.odonnell@dentons.com, Dentons Bingham Greenebaum LLP – Lexington,

300 W. Vine Street, Suite 1200, Lexington, KY 40507-4696.




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                                          Respectfully Submitted,

                                          /s/John P. Fuller
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